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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                         )
AUSTIN PLUMMER,                          )
                                         )
             Plaintiff,                  )
                                         )
             v.                          )      No. 19-cv-453 (KBJ)
                                         )
DISTRICT OF COLUMBIA                     )
GOVERNMENT, et al.,                      )
                                         )
             Defendants.                 )
                                         )


               ORDER FOR INITIAL SCHEDULING CONFERENCE

      The above-captioned case has been assigned to this Judge for resolution. It is

hereby ORDERED that the Initial Scheduling Conference be set for Tuesday, October

1, 2019, at 10:30 AM in Courtroom 17. Counsel who attend must be sufficiently

familiar with the case to answer any questions that arise. Parties are welcome and are

encouraged to attend the Initial Scheduling Conference and all subsequent proceedings.

      In accordance with Rule 16.3(a) of the Local Civil Rules and Federal Rule of

Civil Procedure 26(f)(1), counsel shall confer in person or by telephone at least 21 days

prior to the date of the Initial Scheduling Conference to discuss with particularity each

party’s position on the scope of discovery necessary for the case, as well as the matters

outlined in Local Civil Rule 16.3(c). In order to better frame their discussion regarding

the scope of discovery, prior to the meeting counsel shall exchange Early Rule 34

Requests. See Fed. R. Civ. P. 26(d)(2). Pursuant to Local Civil Rule 16.3(d) and

Federal Rule of Civil Procedure 26(f)(2), Counsel shall submit to the Court no later

than 14 days following their meeting—i.e., no fewer than 7 days prior to the date of the
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Initial Scheduling Conference—a joint Report that, among other things: (1) outlines a

detailed discovery plan as described in Fed. R. Civ. P. 26(f)(3); (2) addresses all topics

listed in Local Civil Rule 16.3(c), EXCEPT for the pretrial conference date (LCvR

16.3(c)(12)) and the issue of when the Court should set a firm trial date (LCvR

16.3(c)(13)); and (3) sets forth a proposed scheduling order. See LCvR 16.3(d).

Counsel are also directed to include in their Report a brief statement of the case and the

statutory basis for all causes of action and defenses.

       Consistent with Local Civil Rule 16.3(c)(8), Counsel shall also submit a Joint

Proposed Protective Order that incorporates the substantial overlap between the two

proposed protective orders that the parties have already filed. (See Dist.’s Proposed

Protective Order, ECF No. 10-2; Pl.’s Proposed Protective Order, ECF No. 15-1.) To

the extent that the parties cannot resolve their disputes regarding a protective order by

conferring in good faith, the parties shall include the following in the Joint Proposed

Protective Order for any and each provision to which they cannot reach agreement: (1)

the proposed provision of each party; (2) each party’s specific objection(s) to the

provision proposed by the other party; (3) the legal authority in support of each party’s

position.

       This Court generally will not permit the parties to waive Rule 26(a)(1) initial

disclosures. Any party who objects to exchanging initial disclosures on the grounds

that “initial disclosures are not appropriate in this action,” see Fed. R. Civ. P.

26(a)(1)(C), shall state with specificity the grounds for its objection in the Report.

       In considering a discovery schedule under Local Civil Rule 16.3(c)(8), counsel

should be guided by the schedules contained in the Appendix to this Order. Counsel are

also reminded that Federal Rule of Civil Procedure 26(f) requires discussion of issues
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related to the discovery of electronically stored information, preservation of

discoverable information, and assertions of privilege or of protection of trial-

preparation materials, including consideration of whether to seek an order reflecting an

agreement of the parties regarding the procedure for asserting such claims after

production. See Fed. R. Civ. P. 26(f)(3).

       In considering what form of alternative dispute resolution may be most suitable

as required by Local Civil Rule 16.3(5), counsel are encouraged to consider mediation,

arbitration, early neutral evaluation, and any other form of alternative dispute resolution

that can be tailored to the needs of their case.

Date: August 8, 2019                       Ketanji Brown Jackson
                                           KETANJI BROWN JACKSON
                                           United States District Judge




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                                                                           APPENDIX

                                     Discovery Schedules

       The following schedules are guidelines that are usually followed by the Court.

Variations may be appropriate in light of individual case differences. All time-frames

are calculated from the date of the initial scheduling conference.


                         Expedited Cases          Standard Cases      Complex Cases
Initial Disclosures          14 days                 30 days              60 days
Deadline for Post-           30 days                 45 days              90 days
R. 26(a) Discovery
Requests
Proponent’s R.                 N/A                   60 days             120 days
26(a)(2) Statements
Opponent’s R.                  N/A                   90 days             150 days
26(a)(2) Statements
All discovery closed         60 days                120 days             180 days
Limits on number of             12                     25                   25
interrogatories per
party
Limits on number of              3                         5                10
depositions per side




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